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                                    JOHN LEWIS, JR.
                            Chapter 7 Trustee-Attorney at Law
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                                   Atlanta, GA 30309
                                      404-891-0948
                                        August 19, 2021



  Office of the United States Trustee
  362 Richard Russell Federal Bldg
  75 Ted Turner Drive, SW
  Atlanta, GA 30303


  Re:     Chinita Temika Deloris May
          Chapter 7; Case Number 21-54345-LRC


  To Whom It May Concern:

  Please be advised that I have a conflict in the above-referenced Chapter 7 case and cannot
  serve as Trustee in this matter. My firm represents a creditor in this case. Kindly re-
  assign this case to another trustee.

  Thank you for your assistance in this matter.


  Sincerely,

   /s/ John Lewis, Jr.

  John Lewis, Jr.
  Attorney at Law

  JL/sr


  Cc: Stanley J. Kakol, Jr.
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